1. Is the defendant indebted to the plaintiff on account of the shipments of corn on 15 February, 1915, and of peas on 2 March, 1915, as alleged in the first cause of action in the complaint? If so, in what amount? Answer: $642.84 and interest from 2 March, 1915.
2. Did the defendant prevent the plaintiff from delivering the 15,000 bushels of corn and 2,372 bushels of peas by wrongfully failing and refusing to honor the draft theretofore drawn by plaintiff, as alleged, for the second cause of action in the complaint? Answer: Yes.
3. If so, what damages, if any, is plaintiff entitled to recover? Answer: $161.28.
4. Did plaintiff contract to sell and consign to defendant 5,000 bushels of corn on 23 December, 1914, as alleged in the answer as the first counterclaim? Answer: Yes.
5. If so, was plaintiff prevented from delivering a part of said 5,000 bushels by the wrongful failure of defendant to pay the drafts drawn by plaintiff, as alleged in the reply? Answer: Yes.
6. What damages, if any, is the defendant entitled to recover of plaintiff on the said counterclaim? Answer: Nothing.
7. Did plaintiff contract to sell and deliver to defendant 15,000 bushels of corn at 65 cents, as alleged in the answer as the second cause of action? Answer: Yes. *Page 845 
8. What damages, if any, is defendant entitled to recover of the plaintiff on its second counterclaim for failure of the plaintiff to ship the 15,000 bushels of corn as of 6 January, 1915, referred to in the second issue? Answer: Nothing.
9. What damages, if any, is defendant entitled to recover of the plaintiff on its third counterclaim for failure of plaintiff to ship the 2,372 bushels of peas as of 6 January, 1915, referred to in the second issue? Answer: Nothing.
10. Did plaintiff contract to sell and ship the 15,000 bushels of corn at 68 cents per bushel, 19 January, as alleged for the fourth counterclaim? Answer: No.
11. If so, what damages, if any, is defendant entitled to recover of plaintiff for and on account of his failure to comply with said contract? Answer: Nothing.
12. In what amount, if any, is plaintiff indebted to defendant for the bags referred to in the fifth counterclaim?                  (788) Answer: $61.28. Bags, if recovered, belong to Simmons.
From the judgment rendered, defendant appealed.
We have examined the thirteen assignments of error directed to the evidence and charge of the court, and think they present no substantial ground for granting a new trial.
No error.